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                             Exhibit 58
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  From:            Matt Martorello
  To:              Robert Rosette; Karrie Wichtman; giizhigookway; Jim Williams (Chairman); Justin Martorello
  Subject:         Fwd: ACH Pre-Application
  Date:            Wednesday, February 12, 2014 4:19:53 PM
  Attachments:     image003.jpg
                   image002.jpg
  Importance:      High


 Read this thread. We need to do something about this.

 -------- Original message --------
 From: Jeff Halloran
 Date:02/12/2014 7:34 PM (GMT-04:00)
 To: Matt Martorello ,James Dowd
 Cc: 'Jeff Voyles' ,'Kate Spilde'
 Subject: RE: ACH Pre-Application

 OCC was there for 2 days and we were represented in the room. It was made clear for the record,
 your business is perfectly legal. And now off the record if the bank so much as processes a single
 transaction The DOJ will be relentless in shutting them down under the full weight of the US
 government. I am paraphrasing but that is pretty much the essence of it. So in order to prevent
 tribes from doing short term lending and knowing they can't stop you, they went after your source
 who they could threaten and prosecute. And made it clear they would be sure to go after each
 Director and Officer personally.

 If you could come up with a blanket immunity clause almost to the point of a full restraining order
 for the bank and all of its Directors and Officers from the DOJ and OCC – we may be able to re-
 engage. But the bank is about $50,000 into this and they believe it is a losing battle. Sorry, this is just
 what I have been told.

 Best Regards,

 Jeff Halloran
 Director
 +1 (416) 804-4007
 Skype: jeff_halloran
 MSN: jeffhalloran@rogers.com




 From: Matt Martorello [mailto:mattm@bellicosevi.com]
 Sent: February-12-14 4:20 PM
 To: jeff@mt-exchange.com; James Dowd
 Cc: 'Jeff Voyles'; 'Kate Spilde'
 Subject: RE: ACH Pre-Application

 What if we can get a written statement from the OCC telling Moody Bank that they can

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 process for LVD and their will be no negative repercussions for doing so? Or something in
 writing that directly alleviates their concerns here? DOJ or OCC, let us know what statement
 is needed and from who and we will go and ask for the letter to explicitly approve in advance
 a relationship between LVD and Moodys.

 It will be a day or two before we can get to the attached application but hope to do so soon.


 -------- Original message --------
 From: Jeff Halloran
 Date:02/12/2014 5:10 PM (GMT-04:00)
 To: James Dowd ,Matt Martorello
 Cc: 'Jeff Voyles' ,'Kate Spilde'
 Subject: ACH Pre-Application

 Hello everyone. A couple things.

 First, I am writing to follow up about the progress with Moody’s Bank. At this time there seems to be
 so much heat on the banks that Moody's is not going to move forward at this time. Some of the
 banks are being informally threated with prosecution or at the very least censure from the OCC.
 Until there is more clarity, Moody's is taking a “wait and see approach.” We all realize that the
 business you are in is legal and even needed but that does not seem to be preventing the
 government from aggressively applying pressure. And although you legitimately maintain a
 sovereign status the banks unfortunately do not, making them the weak link and consequently
 where the government is applying the pressure.

 The second, and hopefully more positive note is I have another alternative I am pursuing and they
 seem to have stepped up. So please find attached their pre-application. I know we have all been
 there before but it is part of the process. So if you could this filled in and back to me and I will get it
 to them immediately and follow up diligently so no time is wasted.

 Thanks for your patience and understanding.



 Best Regards,

 Jeff Halloran
 Director
 +1 (416) 804-4007
 Skype: jeff_halloran
 MSN: jeffhalloran@rogers.com




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